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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13-19308
         Edward Chapa
         Eileen F Naughton
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 05/07/2013.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 06/12/2013.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 2.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                    $0.00
       Less amount refunded to debtor                              $0.00

NET RECEIPTS:                                                                                        $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $0.00
    Court Costs                                                          $0.00
    Trustee Expenses & Compensation                                      $0.00
    Other                                                                $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                    $0.00

Attorney fees paid and disclosed by debtor:                $500.00


Scheduled Creditors:
Creditor                                       Claim       Claim         Claim        Principal       Int.
Name                                 Class   Scheduled    Asserted      Allowed         Paid          Paid
ASSET ACCEPTANCE LLC             Unsecured           NA    17,257.08     17,257.08            0.00        0.00
CITY OF CHICAGO DEPT OF REVENU   Unsecured           NA        256.20        256.20           0.00        0.00
DEPT STORES NATIONAL BANK/MAC    Unsecured           NA      1,514.17      1,514.17           0.00        0.00
DEPT STORES NATIONAL BANK/MAC    Unsecured           NA        797.53        797.53           0.00        0.00
LOYOLA UNIVERSITY MEDICAL CNT    Unsecured           NA        123.00        123.00           0.00        0.00
MEDICREDIT                       Unsecured           NA           NA            NA            0.00        0.00
MIDLAND FUNDING LLC              Unsecured           NA      3,326.47      3,326.47           0.00        0.00
PNC MORTGAGE                     Secured             NA   224,963.13    282,518.33            0.00        0.00
PNC MORTGAGE                     Secured             NA    57,555.20     57,555.20            0.00        0.00
QUANTUM3 GROUP LLC               Unsecured           NA      7,553.52      7,553.52           0.00        0.00
TD BANK USA                      Unsecured           NA      3,948.47      3,948.47           0.00        0.00
TD BANK USA                      Unsecured           NA        466.64        466.64           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $282,518.33                $0.00            $0.00
       Mortgage Arrearage                                     $0.00                $0.00            $0.00
       Debt Secured by Vehicle                                $0.00                $0.00            $0.00
       All Other Secured                                 $57,555.20                $0.00            $0.00
 TOTAL SECURED:                                         $340,073.53                $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $35,243.08                $0.00            $0.00


Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                             $0.00


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 07/18/2013                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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